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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 DELAWARE DISPLAY GROUP LLC AND )
 INNOVATIVE DISPLAY             )
 TECHNOLOGIES LLC,              )
                                )
          Plaintiffs,           )
                                )
       v.                       ) Civil Action No. 13-2112-RGA
                                )
 VIZIO, INC.,                   )
                                )
          Defendant.            )
                                )

                                     [PROPOSED] ORDER

         At Wilmington this __ day of _________, 2016, having considered Defendant VIZIO,

 Inc.’s (“VIZIO”) Motion for Summary Judgment on Non-Enablement and Written Description,

 any response thereto, and any evidence, authority, and argument submitted,

        IT IS HEREBY ORDERED that VIZIO’s Motion is GRANTED. The claims of U.S.

 Patent Nos. 7,434,974 and 7,537,370 are invalid as they are neither enabled nor contain

 sufficient written description as required by 35 U.S.C. § 112.




                                                             ______________________________
                                                             The Honorable Richard G. Andrews
